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                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
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18   UNITED STATES OF AMERICA,                         )   NO.: 3:20-mj-71049 MAG
                                                       )
19           Plaintiff,                                )   STIPULATION AND [PROPOSED] ORDER
                                                       )   CONTINUING PRELIMINARY HEARING AND
20      v.                                             )   EXCLUDING TIME UNDER THE SPEEDY TRIAL
                                                       )   ACT AND FEDERAL RULE OF CRIMINAL
21   NIMA FAZELI,                                      )   PROCEDURE 5.1(c) AND (d)
                                                       )
22           Defendant.                                )
                                                       )
23

24           This matter is currently set for a preliminary hearing February 8, 2021, at 10:30am. The parties
25 are currently negotiating a potential resolution of this matter, and they stipulate and agree to a further

26 continuance of the preliminary hearing to allow for further negotiations. The parties therefore propose

27 that the hearing currently set for February 8, 2021 be continued to March 8, 2021, at 10:30am. The

28 parties further stipulate and agree that the time from February 8, 2021, to March 8, 2021, should be
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 1 excluded under Federal Rule of Criminal Procedure 5.1 and the Speedy Trial Act. The government has

 2 made an initial production of discovery, which defense counsel is reviewing. For these reasons, the

 3 parties stipulate and agree that excluding time until March 8, 2021, will allow for the effective

 4 preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv); FRCP 5.1(c) and (d). The parties further

 5 stipulate and agree that the ends of justice served by excluding time through March 8, 2021, from

 6 computation under the Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d)

 7 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

 8 3161(h)(7)(A), (B)(iv).

 9          The undersigned Assistant United States Attorney certifies that he has obtained approval from

10 counsel for the defendant to file this stipulation and proposed order.

11          IT IS SO STIPULATED

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13 DATED: February 1, 2021                               Respectfully submitted,

14                                                       DAVID L. ANDERSON
                                                         United States Attorney
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                                                          /s/
17                                                       ANDREW F. DAWSON
                                                         Assistant United States Attorney
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20 DATED: February 1, 2021                                /s/
                                                         MARTIN SABELLI
21                                                       Attorney for the Defendant
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 1                                           PROPOSED ORDER

 2          Based upon the representations of counsel and for good cause shown, the Court continues the

 3 preliminary hearing in this matter from February 8, 2021, to March 8, 2021, at 10:30am. The Court

 4 finds that failing to exclude the time through March 8, 2021 would unreasonably deny defense counsel

 5 and the defendant the reasonable time necessary for effective preparation, taking into account the

 6 exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The Court further finds that the ends of justice

 7 served by excluding the time through March 8, 2021, from computation under the Speedy Trial Act and

 8 Federal Rule of Criminal Procedure 5.1(c) and (d) outweighs the best interests of the public and the

 9 defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS HEREBY ORDERED

10 that time from February 8, 2021, to March 8, 2021, shall be excluded from computation under the

11 Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d). 18 U.S.C. §§ 3161(h)(7)(A),

12 (B)(iv); FRCP 5.1(c),(d).

13          IT IS SO ORDERED.

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           )HEUXDU\
15 DATED:___________________                            _____________________________________
                                                        THE HONORABLE LAUREL BEELER
16
                                                        United States Magistrate Judge
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